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✎ PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                             for
                                            Eastern District of Washington


U.S.A. vs.                    Gaines, Olton Leon                        Docket No.         0980 2:17CR00101-WFN-20


                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Olton Leon Gaines, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 19th day of June 2017 under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal law.
Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana under
state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant tested positive for the presence of marijuana on June 29, 2017.

                     PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       August 17, 2017
                                                                   by     s/Erik Carlson
                                                                          Erik Carlson
                                                                          U.S. Pretrial Services Officer

THE COURT ORDERS
[ X] No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                            Signature of Judicial Officer

                                                                            August 18, 2017
                                                                            Date
